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           UNITED STATES DISTRICT AND BANKRUPTCY COURTS
                    FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      )
                                              )
                     vs.                      )       Criminal Case No.:   21-350 (PLF)
                                              )
                                              )
ANTIONNE DE SHAUN BRODNAX
                                              )
                                              )


                                     WAIVER OF TRIAL BY JURY

         With the consent of the United States Attorney and the approval of the Court, the defendant

waives his right to trial by jury.




                                                      Defendant




I consent:


  ls/Michael C Liebman
Assistant United States attorney


Approved:

                                                              10/22/2021
                                                      Date: ---------

Paul L. Friedman
United States District Judge
